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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1265V
                                      Filed: June 23, 2016
                                         UNPUBLISHED

****************************
KATHLEEN ROMERO,                      *
                                      *
                    Petitioner,       *       Damages Decision Based on Proffer;
v.                                    *       Influenza (“Flu”) Vaccine; Shoulder
                                      *       Injury Related to Vaccine Administration
SECRETARY OF HEALTH                   *       (“SIRVA”); Rotator Cuff Tear; Special
AND HUMAN SERVICES,                   *       Processing Unit (“SPU”)
                                      *
                    Respondent.       *
                                      *
****************************
Mark R. Karsner, Karsner & Meehan, P.C., Taunton, MA, for petitioner.
Michael Patrick Milmoe, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On October 27, 2015, Kathleen Romero (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she developed a rotator
cuff tear and other injuries as a result of receiving a seasonal influenza (“flu”) vaccine on
November 2, 2014. Petition at 1-2. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

        On January 22, 2016, a ruling on entitlement was issued finding petitioner
entitled to compensation. On June 23, 2016, respondent filed a proffer on award of
compensation (“Proffer”) stating petitioner should be awarded $135,000.00. Proffer at
1. In the Proffer, respondent represents that petitioner agrees with the proffered award.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $135,000.00, in the form of a check payable to
petitioner, Kathleen Romero. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
KATHLEEN ROMERO,                     )
                                     )
            Petitioner,              )  No. 15-1265V
                                     )  Chief Special Master Dorsey
      v.                             )  ECF
                                     )
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
                                     )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On January 22, 2016, the Chief Special Master issued a Ruling on Entitlement

determining that petitioner was entitled to vaccine compensation for her Shoulder Injury Related

to Vaccine Administration (“SIRVA”). Respondent proffers that, based on the evidence of

record, petitioner should be awarded $135,000.00. This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.

II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment as described below, and requests that the Chief Special Master’s

decision and the Court’s judgment award the following: 1




1
  Should petitioner die prior to entry of judgment, respondent reserves the right to move the Court for appropriate
relief. In particular, respondent would oppose any award for future medical expenses, future pain and suffering, and
future lost wages.
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   A. A lump sum payment of $135,000.00 in the form of a check payable to petitioner,
      Kathleen Romero. This amount accounts for all elements of compensation under 42
      U.S.C. § 300aa-15(a) to which petitioner would be entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                     Respectfully submitted,

                                                     BENJAMIN C. MIZER
                                                     Principal Deputy Assistant Attorney General

                                                     RUPA BHATTACHARYYA
                                                     Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Acting Deputy Director
                                                     Torts Branch, Civil Division

                                                     GLENN A. MACLEOD
                                                     Senior Trial Counsel
                                                     Torts Branch, Civil Division

                                                     /s/ Michael P. Milmoe
                                                     MICHAEL P. MILMOE
                                                     Senior Trial Counsel
                                                     Torts Branch, Civil Division
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Dated: June 23, 2016                                 Fax:    (202) 616-4310
